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                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW JERSEY


 K.A.,                                                      Civil Action No. 18-3436 (JLL)

                    Petitioner,
                                                             MEMORANDUM OPINION
           v.

 CHARLES GREEN,

                    Respondent.


IT APPEARNG THAT:

           1. On August 7, 2018, this Court entered an order and opinion granting Petitioner, K.A., a

bond hearing. (ECF Nos. 13—14). In that opinion, this Court specifically stated that the burden of

proof at that hearing would be placed on the Government and that at Petitioner’s hearing, “the

Government [will be required] to produce individualized evidence that [Petitioner’s] continued

detention was or is necessary to further the goals of § 1226(c)   —   specifically ensuring that Petitioner

presents neither a danger to the community nor a flight risk.” (ECF No. 13 at 8 (internal quotation

marks omitted)).

         2. Petitioner received a bond hearing, but was denied bond as the Immigration Judge found

that the Government had met its burden of establishing that Petitioner was both a flight risk and a

danger to the community, and that his continued detention was therefore necessary to further the

goals of the statute. (ECF No. 15 at 2—7).

         3. Unsatisfied with the outcome of his bond hearing, Petitioner filed with this Court a

motion to reopen his habeas proceedings arguing that he had been denied due process at his bond

hearing.        (ECF No. 16).     In his motion, Petitioner argued that the Immigration Judge had

misapplied the applicable law and standard of proof in denying him bond. (ECF No. 16).


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       4. On September 2$, 201$, this Court entered an order and opinion denying Petitioner’s

motion to reopen his habeas proceedings. (ECF Nos. 18—19). In denying that motion, this Court

noted that it was without the authority to second guess or review the discretionary decision of the

immigration judge to deny Petitioner bond, and could only provide Petitioner with relief were

Petitioner to show that his bond hearing had not been bona fide insomuch as Petitioner was in

some way denied due process at the hearing. (ECF No. 1$ at 4). This Court thereafter found that

the Immigration Judge had applied the standard of proof that this Court had imposed upon it by

both placing the burden on the Government and making an individualized determination that

Petitioner was both a danger to the community and a flight risk, and that Petitioner had therefore

not been denied due process. (ECF No. 1$ at 5—7). As this Court noted in that opinion, Petitioner’s

disagreement with the immigration judge’s conclusions served as no basis to reopen these habeas

proceedings. (ECF No. 18 at 6—7).

       5. In denying Petitioner’s motion to reopen, this Court also explicitly rejected Petitioner’s

contention that the Government was required to prove his danger or flight risk by clear and

convincing evidence. (ECF No. 18 at 5 n. 2). As this Court explained, “neither chavez-Alvarez

[v. Warden York Cty. Prison, 783 F.3d 469 (3d Cir. 2015),] nor Diop [v. IcE/Homeland Sec., 656

F.3d 221 (3d Cir. 2011)] require the use of the clear and convincing [evidence] standard, and this

Court in granting relief to Petitioner in no way required the immigration judge to apply” that

standard. (ECF No. 1$ at 5 n. 2).

       6. On October 11, 201$, Petitioner filed with this Court a motion for reconsideration

challenging this Court’s denial of his motion to reopen habeas proceedings. (ECF No. 22). In his

motion, Petitioner argues that the Third Circuit now requires the use of the clear and convincing

evidence standard, which he attributes to the Third Circuit’s recent decision in Guerrero-Sanchez



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v. Warden York Cty. Prison, 905 F.3d 208 (3d Cir. 2018), and further disputes the Immigration

Judge’s individualized finding that Petitioner presents a danger to the community and a flight risk.

(ECF No. 22).

       7. Whether brought pursuant to Rule 59(e) of the Federal Rules of Civil Procedure or Local

Civil Rule 7.1(i), the scope of a motion for reconsideration is extremely limited, and courts will

grant such motions only sparingly. Delanoy v. Twp. Of Ocean, No. 13-1555, 2015 WL 2235103,

at *2 (D.N.J. May 12, 2015) (as to Local Civil Rule 7.1(i)); see also Blvstone v. Horn, 664 F.3d

397, 415 (3d Cir. 2011) (as to Rule 59(e)). An order of the Court may be altered or amended

pursuant to such a motion only where the moving party establishes one of the following grounds

for relief: “(1) an intervening change in the controlling law; (2) the availability of new evidence

that was not available when the court [issued its order]; or (3) the need to correct a clear error of

law or fact to prevent manifest injustice.” Delanoy, 2015 WL 2235106 at *2 (quoting Max’s

Seafood Café v. Quinteros, 176 F.3d 669, 667 (3d Cir. 1999)); see also Blystone, 664 f.3d at 415

(applying same standard to 59(e) motions). In the reconsideration context, a manifest injustice

will generally arise only where “the Court overlooked some dispositive factual or legal matter that

was presented to it,” or committed a “direct, obvious, and observable” error. Brown v. Zickeloose,

No. 11-3330, 2011 WL 5007829, at *2 n. 3 (D.N.J. Oct. 18, 2011). Reconsideration motions may

not be used to relitigate old matters or to raise arguments or present evidence or allegations that

could have been raised prior to entry of the original order, and courts should grant such a motion

only where a prior decision “overlooked a factual or legal issue that may alter the disposition of

the matter.” Delanoy, 2015 WL2235106 at *2.

       8. Turning first to Petitioner’s Guerrero-Sanchez argument, this Court finds that Petitioner

has shown no basis for reconsideration. Although Petitioner contends that Guerrero-Sanchez



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mandates that he receive a bond hearing applying the clear and convincing evidence standard,

Petitioner is mistaken. Gtterrero-Sanchez discussed      only   the entitlement to a bond hearing for

those detained pursuant to 8 U.S.C.   § 123 l(a)(6) a statute that does not apply to Petitioner, who
                                                    —




is awaiting the outcome of his petition for review before the Third Circuit and is subject to a stay

of removal. Petitioner is instead detained pursuant to   § 1226(c). Guetrero-Sctnchez was entirely
silent as to the standard applicable to bond hearings ordered for those held pursuant to    § 1226(c),
and thus its holding does not apply to Petitioner. Gtterrero-Sanchez, 905 f.3d at 223—26. The

Third Circuit has not yet required the clear and convincing evidence standard for bond hearings

ordered for those held under   § 1226(c), and this Court did not require the use of that standard by
the Immigration Judge in its order granting Petitioner a bond hearing. Petitioner is thus mistaken

in his belief that he is now retroactively entitled to a bond hearing held under the clear and

convincing evidence standard. Should the Third Circuit impose such a requirement in the future,

Petitioner would be free to file a new habeas petition arguing that he is entitled to a hearing under

that higher standard. At the time Petitioner was granted a bond hearing, that standard was not

required, and it has not been required through to the present day for   § 1226(c) detainees. Petitioner
has thus not shown that this Court’s prior decision was erroneous and has presented no valid basis

for reconsideration.

        9. In his remaining arguments. Petitioner again takes issue with the Immigration Judge’s

individualized findings that Petitioner presented both a flight risk and a danger to the community.

As this Court has previously explained to Petitioner, his disagreement with the Immigration

Judge’s view of the facts and conclusions is not a basis for relief— this Court is without jurisdiction

to second guess the discretionary judgment of the Immigration Judge denying Petitioner bond.

$ U.S.C.   § 1226(e). Petitioner’s remaining arguments therefore do not show that this Court was


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mistaken in denying his motion to reopen habeas proceedings, and Petitioner has therefore failed

to show any valid basis for reconsideration.

       10. Petitioner’s motion for reconsideration (ECf No. 22) is DENIED. An appropriate

order follows.




                                               HON. J%E L. LINARES,
                                               Chie(idge, United States District Court




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